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9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
13
14   UNITED STATES OF AMERICA,                    )      No.: CR 06-0428 SI
                                                  )
15           Plaintiff,                           )      [PROPOSED] ORDER EXCLUDING
                                                  )      TIME FROM SPEEDY TRIAL ACT
16      v.                                        )      CALCULATION
                                                  )
17   RICHARD WONG,                                )
                                                  )
18           Defendant.                           )
                                                  )
19
20
21           This matter came on for hearing before the Court on August 3, 2006. Defendant Richard
22   Wong appeared with his counsel, Ean Vizzi. The United States appeared through Assistant U.S.
23   Attorney Andrew M. Scoble. The defendant was arraigned, entered not guilty pleas, and was
24   released on a secured bond pursuant to conditions agreed upon by the parties.
25           The parties represented that the government has previously provided voluminous
26   discovery materials (according to the government, it includes more than 150,000 pages of
27   images, plus DVD’s and CD-ROMs as well as videotapes) to other defense counsel for other
28   defendants charged in this and related cases. Defense counsel noted additionally that there are


     ORDER EXCLUDING TIME
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1    new counsel who have recently entered appearances in this complex case. Defense counsel and
2    the defendant, along with the government, requested the continuance and agreed that a Speedy
3    Trial Act exclusion is appropriate under 18 U.S.C. § 3161(h)(8), based upon counsel’s need to
4    review the discovery and become familiar with the case, and agreed that the continuance is
5    necessary to provide reasonable time for effective preparation, taking into account the exercise of
6    due diligence.
7           The next date for this case is September 1, 2006 at 11:00 a.m. before United States
8    District Judge Susan Illston.
9           Accordingly, THE COURT FINDS that a continuance from August 3, 2006 through and
10   including September 1, 2006 is appropriate, and that the ends of justice served by granting such a
11   continuance outweigh the best interest of the public and the defendant in a speedy trial. THE
12   COURT FURTHER FINDS that failure to grant such a continuance would deny the defendant
13   and his counsel the reasonable time necessary for effective preparation of the case (including
14   review of the voluminous discovery), taking into account the exercise of due diligence. THE
15   COURT THEREFORE ORDERS that the period from August 3, 2006 through September 1,
16   2006 is excludible time within the meaning of 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).
                                                            S DISTRICT
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18   DATED: 8/4/6
                                              UNIT




                                           HON. JOSEPH C. SPERO
                                                                                        R NIA




19                                         United States Magistrate Judge
                                                                            Spero
                                                                    seph C.
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                                                            Judge Jo
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